Case 9:23-cv-00061-DWM Document 22-2 Filed 07/05/23 Page 1 of 6




               EXHIBIT B
      Case 9:23-cv-00061-DWM Document 22-2 Filed 07/05/23 Page 2 of 6




Natasha Prinzing Jones                      Ambika Kumar (admitted PHV)
(MT Bar No. 5226)                           DAVIS WRIGHT TREMAINE LLP
Matthew B. Hayhurst                         920 Fifth Avenue, Suite 330
(MT Bar No. 4979)                           Seattle, WA 98104-1610
BOONE KARLBERG P.C.                         Telephone: (206) 622-3150
201 West Main St., Suite 300                Facsimile: (206) 757-7700
P.O. Box 9199                               ambikakumar@dwt.com
Missoula, MT 59807
Telephone: (406) 543-6646                   Tim Cunningham (admitted PHV)
Facsimile: (406) 549-6804                   DAVIS WRIGHT TREMAINE LLP
npjones@boonekarlberg.com                   1300 SW Fifth Avenue, Suite 2400
mhayhurst@boonekarlberg.com                 Portland, OR 97201
                                            Telephone: (503) 241-2300
                                            Facsimile: (503) 778-5299
                                            timcunningham@dwt.com
Attorneys for Plaintiffs Samantha
Alario, Heather DiRocco, Carly Ann
Goddard, Alice Held, and Dale Stout


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


SAMANTHA ALARIO, HEATHER                      Lead Case No.
DIROCCO, CARLY ANN GODDARD,                   9:23-cv-00056-DWM
ALICE HELD, and DALE STOUT,                   CV 23–56–M–DWM

            Plaintiffs,                       Member Case No.
                                              CV 23–61–M–DWM
      v.
                                              DECLARATION OF HEATHER
AUSTIN KNUDSEN, in his official               DIROCCO IN SUPPORT OF
capacity as Attorney General of the State     PLAINTIFFS’ MOTION FOR
of Montana,                                   PRELIMINARY INJUNCTION

            Defendant.
       Case 9:23-cv-00061-DWM Document 22-2 Filed 07/05/23 Page 3 of 6



I, Heather DiRocco, declare as follows:

      1.     I make this declaration from personal knowledge.

      2.     I reside in Bozeman, Montana with my husband and three children.

      3.     I own and operate two local businesses. Prior to that, I served as a

Sergeant in the United States Marine Corps for seven years.

      4.     I created a TikTok account in 2018 because my teenage children were

using the app, and I wanted to ensure it was appropriate for them. From my

experience using TikTok, I now consider it to be the safest social media app for my

children to use, and we all use it together as a family.

      5.     I started creating videos on TikTok because I found the experience to

be joyful and fun. I loved using my creativity to make interesting content and

share my thoughts, ideas, and sense of humor with others.

      6.     Over time, the videos that I posted grew very popular, to the point that

I now have over 200,000 followers and am one of the largest creators in Bozeman.

I believe that my videos—which focus on my military experience, sense of humor,

and hobbies—are relatable.

      7.     Because of the following I have grown, I now earn approximately 10-

30% of my annual income from TikTok. I earn income partially through TikTok’s

Creator Fund (which pays creators based on factors such as their videos’




                                           2
       Case 9:23-cv-00061-DWM Document 22-2 Filed 07/05/23 Page 4 of 6



performance and views) as well as through brand deals. This income has been

incredibly helpful to support myself and my family.

      8.     In addition to creating content on TikTok, I also enjoy using the app

for other purposes. I have found TikTok to be a wonderful forum to connect with

and motivate others, especially those going through a tough time. Because of my

military background, I have connected with a substantial community of around

50,000 fellow veterans, with whom I have had inspiring conversations on

important topics, such as mental health. I have also used TikTok to conduct

campaigns for suicide awareness and prevention for veterans. In my experience,

many TikTok users have found the app to be highly beneficial to their mental

health and sense of community.

      9.     I also use TikTok to learn about current events. For example, when

tornados hit the Midwest in April 2023, I found out first from TikTok and was able

to quickly check in with family and friends in the area. Creators in that area then

teamed up to help victims by distributing water, cleaning debris, and rescuing

pets. This was not an isolated event—TikTok is often the first outlet where I learn

about current events in real-time.

      10.    I also use TikTok to learn about a variety of topics, such as do-it-

yourself projects for fixing my car, and to find positive and motivational content

from other creators.



                                        3
       Case 9:23-cv-00061-DWM Document 22-2 Filed 07/05/23 Page 5 of 6



       11.     I have found much greater success as a creator on TikTok than on the

other social media apps. For example, I have about ten times the number of

followers on TikTok as I do on Instagram (over 200,000 followers on TikTok

versus 23,500 on Instagram). I believe this success is due to TikTok’s algorithm.

It has a way of sharing my content with the right audiences who resonate with my

message and engage with my community—much more so than the other apps. For

example, the TikTok algorithm inspires users to explore new content, instead of

only focusing on “following” people from their immediate social circles or famous

celebrities.

       12.     If Montana’s TikTok ban is allowed to take effect, I would lose access

to this incredible community that I have built over the past five years, as well as

the ability to speak to, engage with, and learn from that community. I would also

be deprived of future financial earnings from my work as a creator.

       13.     As a U.S. Marine Corps veteran, I find it especially troubling that the

state of Montana could so drastically infringe on the constitutional rights that I

served to defend and protect. This ban would violate my and other Montanans’

freedom of speech and deprive many creators and local businesses of both revenue

and access to customers.

       14.     I urge the Court to stop the state from taking away the freedoms and

rights of Montana’s citizens.



                                           4
      Case 9:23-cv-00061-DWM Document 22-2 Filed 07/05/23 Page 6 of 6



      I declare under penalty of perjury that the foregoing is true and correct.



Signed in Bozeman, Montana this 4th day of July, 2023.




                                                                  Heather DiRocco




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